                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

 UNITED STATES OF AMERICA                     )         MATTICE/CARTER
                                              )
        v.                                    )         CASE NO. 4:11-CR-12
                                              )
 CARRIE BECK                                  )

                                            ORDER

        On December 13, 2011, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant=s plea of guilty to Count One of

 the Indictment in exchange for the undertakings made by the government in the written plea

 agreement; (b) the Court adjudicate Defendant guilty of the charges set forth in Count One of the

 Indictment; (c) that a decision on whether to accept the plea agreement be deferred until

 sentencing; and (d) Defendant shall remain in custody pending sentencing in this matter (Doc.

 399). Neither party filed an objection within the given fourteen days.

         After reviewing the record, the Court ACCEPTS IN PART and REJECTS IN PART

 the magistrate judge=s report and recommendation. Accordingly, the Court ACCEPTS and

 ADOPTS the magistrate judge’s report and recommendation pursuant to 28 U.S.C. ' 636(b)(1)

 and ORDERS as follows:

        (1) Defendant=s plea of guilty to Count One of the Indictment, in exchange for the

 undertakings made by the government in the written plea agreement, is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

 Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and




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        (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

 March 12, 2012, at 2:00 pm. The Court REJECTS the alternate date for sentencing of Monday,

 April 23, 2012. The Court’s calendar is far too congested to accommodate alternative dates.        If

 counsel has a conflict with the date of March 12, 2012, they shall file a motion with the Court for a

 new date.

        SO ORDERED.

        ENTER:



                                            /s/ Harry S. Mattice, Jr.
                                            HARRY S. MATTICE, JR.
                                       UNITED STATES DISTRICT JUDGE




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